                      Case 1-19-40338-nhl                            Doc 19     Filed 03/14/19          Entered 03/14/19 11:39:04

B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re       35 North Elliot LLC                                                                                    Case No.   1-19-40338
                                                                                      Debtor(s)                     Chapter    11

              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S) - AMENDED
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                       $               6,717.00
              Prior to the filing of this statement I have received                                             $               6,717.00
              Balance Due                                                                                       $                   0.00

2.     The source of the compensation paid to me was:

               Debtor                   Other (specify):           Nazila Bardi, president of Debtor

3.     The source of compensation to be paid to me is:

               Debtor                   Other (specify):           Debtor, or an affiliate, or an affiliated entity

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Issues that may arise in connection with the Debtor's continued operation as a debtor-in-possession including,
                  but not limited to, the following:
                  a. advising the Debtor with respect to its powers and duties as a debtor-in-possession;
                  b. assisting the Debtor in the preparation of its schedules of assets and liabilities, statements of financial affairs
                  and other reports and documentation required pursuant to the Bankruptcy Code and the Bankruptcy Rules;
                  c. representing the Debtor at all hearings on matters pertaining to its affairs as a debtor-in-possession;
                  d. prosecuting and defending certain litigated matters that may arise during this Chapter 11 case;
                  e. counseling and representing the Debtor in connection with the assumption or rejection of executory contracts
                  and leases, administration of claims and numerous other bankruptcy-related matters arising from this Chapter 11
                  case;
                  f. counseling the Debtor with respect to various general and litigation matters relating to this Chapter 11 case;
                  g. assisting the Debtor in obtaining approval of a disclosure statement, confirmation of a plan of reorganization,
                  and all other matters related thereto; and
                  h. performing all other legal services that are necessary and desirable for the efficient and economic
                  administration of the Debtor's Chapter 11 case.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:




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 In re       35 North Elliot LLC                                                                          Case No.   1-19-40338
                                                               Debtor(s)

             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S) - AMENDED
                                    (Continuation Sheet)
                                                                              CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 14, 2019                                                                /s/ Ira R. Abel
     Date                                                                          Ira R. Abel
                                                                                   Signature of Attorney
                                                                                   Law Office of Ira R. Abel
                                                                                   305 Broadway
                                                                                   14th Floor
                                                                                   New York, NY 10007
                                                                                   212.799.4672 Fax: n/a
                                                                                   iraabel@verizon.net
                                                                                   Name of law firm




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